FILED
IN CLERK:
U.S. DISTRICT COURT SS, NY.
INFORMATION SHEET * JAN 19 2024 a
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UNITED STATES DISTRICT COURT —LQug
EASTERN DISTRICT OF NEW YORK ISLAND OFFICE

1. Title of Case: United States v. Douglas Engstrom

2, Related Magistrate Docket Number(s): 23-MJ-1122 { ‘ R é > 4 6 1 D>
3. Arrest Date: __ 12/16/2023 ne
CHOUDHURY, J.

4. Nature of offense(s): Felony
[1 Misdemeanor

5. Related Cases - Title and Docket No(s). (Pursuant to Rule 50.3.2 of the Local E.D.N.Y.
Division of Business Rules):

6. Projected Length of Trial: Lessthan6weeks I

More than6 weeks O DUNST, M J.
7. County in which crime was allegedly committed: Nassau
(Pursuant to Rule 50.1(d) of the Local E.D.N.Y. Division of Business Rules)
8. Was any aspect of the investigation, inquiry and prosecution giving rise to the case
pending or initiated before March 10,2012, 1 Yes No

9. Has this indictment/information been ordered sealed? O Yes No
10. Have arrest warrants been ordered? Ci Yes No

11. Is there a capital count included in the indictment? LJ Yes I No

BREON PEACE
United States Attorney

>

ames R.Sim

Assistant U.S. Attorney

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| Judge Brodie will not accept cases that were initiated before March 10, 2012.

Rev. 12/14/23

